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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE


In re
                                                                   Chapter 11

FTX TRADING LTD., et al.,1                                         Case No. 22-11068 (JTD)

                                                                   (Jointly Administered)
                           Debtors.
                                                                   Re: Docket No. 1192



                                 NOTICE OF FILING OF PROPOSED
                                    JOINT PRETRIAL ORDER

        PLEASE TAKE NOTICE that, on March 29, 2023, Brian C. Simms KC, Kevin G.
Cambridge, and Peter Greaves (the “JPLs,” in their capacity as the duly appointed joint
provisional liquidators of FTX Digital Markets Ltd (the “FTX Digital”) and foreign
representatives of the Provisional Liquidation of FTX Digital, filed the Motion of the Joint
Provisional Liquidators for a Determination that the U.S. Debtors’ Automatic Stay Does Not
Apply to, or in the Alternative for Relief from Stay for Filing of the Application in the Supreme
Court of the Commonwealth of the Bahamas Seeking Resolution of Non-US Law and Other
Issues [Docket No. 1192] (the “Motion”) with the United States Bankruptcy Court for the
District of Delaware (the “Court”) in the above-captioned case.

      PLEASE TAKE FURTHER NOTICE that a hearing to consider the relief requested in
the Motion is scheduled for June 8, 2023 at 9:00 a.m. (ET) (the “Hearing”).

        PLEASE TAKE FURTHER NOTICE that (i) the JPLs, (ii) the U.S. Debtors, (iii) the
Official Committee of Unsecured Creditors (the “Committee”), (iv) the Customer Adversary
Plaintiffs in Adversary Proceeding No. 22-50513 (JTD) (the “Customer Adversary Plaintiffs”),
and (v) the Ad Hoc Group of Customers of FTX Trading Ltd. (the “Ad Hoc Group” and
together with the JPLs, U.S. Debtors, Committee and Customer Adversary Plaintiffs, the
“Parties”) have conferred and negotiated an agreed upon proposed form of joint pretrial order
attached hereto as Exhibit 1 (the “Proposed Joint Pretrial Order”).




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  The last four digits of FTX Trading Ltd.’s tax identification number are 3288. Due to the large number of debtor
entities in the Chapter 11 Cases, a complete list of the debtors (the “U.S. Debtors”) and the last four digits of their
federal tax identification numbers is not provided herein. A complete list of such information may be obtained on
the website of the U.S. Debtors’ claims and noticing agent at https://cases.ra.kroll.com/FTX.



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        PLEASE TAKE FURTHER NOTICE that the Parties intend to request that the Court
enter the Proposed Joint Pretrial Order, substantially in the form attached hereto, prior to or at the
Hearing. To the extent the Parties make revisions to the Proposed Joint Pretrial Order, the
Parties will present a blacklined copy of the revised form of order to the Court at the Hearing.

                            [Remainder of page intentionally left blank]




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Dated: June 7, 2023

/s/ Brendan J. Schlauch
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